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 5                          UNITED STATES DISTRICT COURT
                           WESTERN DISTRICT OF WASHINGTON
 6                                   AT SEATTLE

 7
       MANE FALETOGO,
 8                          Plaintiff,
 9         v.                                         C19-247 TSZ

10     CITY OF SEATTLE; and OFFICER                   MINUTE ORDER
       JARED KELLER
11
                            Defendants.
12

13        The following Minute Order is made by direction of the Court, the Honorable
     Thomas S. Zilly, United States District Judge:
14
             (1)    Plaintiff’s motion for voluntary non-suit, docket no. 23, is GRANTED, and
     this case is DISMISSED without prejudice. See Fed. R. Civ. P. 41(a)(2).
15
          (2)    The Clerk is directed to CLOSE this case and to send a copy of this Minute
16 Order to all counsel of record.

17         Dated this 24th day of May, 2019.

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                                                    William M. McCool
19                                                  Clerk

20                                                  s/Karen Dews
                                                    Deputy Clerk
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     MINUTE ORDER - 1
